     Case 3:17-cv-00035-JAH-JMA Document 14 Filed 06/26/18 PageID.208 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA, ex rel.                 Case No.: 17-cv-0035-JAH-JMA
      BRIAN J. ZOTTI,
12
                                       Plaintiff,       ORDER PURSUANT TO THE
13                                                      UNITED STATES’ ELECTION TO
      v.                                                DECLINE INTERVENTION
14
      BRIDGEPOINT EDUCATION, INC. and
15
      ASHFORD UNIVERSITY, LLC,
16                                  Defendants.
17
18         The United States having declined to intervene in this action pursuant to the False
19   Claims Act, 31 U.S.C. § 3730(b)(4)(B),
20         IT IS HEREBY ORDERED that:
21         1.    The Complaint be unsealed and served upon the Defendants by the Relator;
22         2.    All other contents of the Court’s file in this action remain under seal and shall
23   not be made public or served upon the Defendants, except for this Order and the United
24   States’ Notice of Election to Decline Intervention, which the relator will serve upon the
25   Defendants only after service of the Complaint;
26         3.    The seal be lifted as to all other matters occurring in this action after this
27   Order;
28

                                                    1
                                                                                17-cv-0035-JAH-JMA
     Case 3:17-cv-00035-JAH-JMA Document 14 Filed 06/26/18 PageID.209 Page 2 of 2


 1         4.     The parties shall serve all pleadings and motions filed in this action, including
 2   supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3).
 3   The United States may order any deposition transcripts and is entitled to intervene in this
 4   action, for good cause, at any time;
 5         5.     The parties shall serve all notices of appeal upon the United States;
 6         6.     All orders of this Court shall be sent to the United States; and that
 7         7.     Should the Relator or the Defendants propose that this action be dismissed,
 8   settled, or otherwise discontinued, the Court will provide the United States with notice and
 9   an opportunity to be heard before ruling or granting its approval.
10         IT IS SO ORDERED.
11   DATED:      June 26, 2018
12
                                                   _________________________________
13
                                                   JOHN A. HOUSTON
14                                                 United States District Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   2
                                                                                 17-cv-0035-JAH-JMA
